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14
                                 UNITED STATES DISTRICT COURT
15
                              NORTHERN DISTRICT OF CALIFORNIA
16
                                      SAN FRANCISCO DIVISION
17
18   IN RE GOOGLE PLAY CONSUMER
     ANTITRUST LITIGATION                            No. 3:20-CV-05761-JD
19
     RELATED ACTIONS:
20
                                                     CONSUMER PLAINTIFFS’
     Epic Games Inc. v. Google LLC et al.,           OPPOSITION TO DEFENDANTS’
21   Case No. 3:20-cv-05671-JD                       MOTION TO EXCLUDE
22                                                   TESTIMONY OF DR. HAL J.
     In re Google Play Developer Antitrust
                                                     SINGER ON CLASS
23   Litigation, Case No. 3:20-cv-05792-JD
                                                     CERTIFICATION
24   State of Utah, et al., v. Google LLC, et al.,
     Case No. 3:21-cv-05227-JD                       Hearing Date: August 4, 2022
25                                                   Hearing Time: 10:00 a.m.
     Match Group, LLC, et al. v. Google LLC, et      Courtroom: Courtroom 11, 19th Floor
26   al., Case No. 3:22-cv-02746-JD                  Judge: The Honorable James Donato
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     CONSUMER PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO EXCLUDE TESTIMONY OF DR.
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     CONSUMER PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO EXCLUDE TESTIMONY OF DR.
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 1                                           INTRODUCTION

 2          Dr. Singer’s expert report demonstrates through common evidence and well-accepted eco-

 3   nomic and econometric modeling that Google’s anticompetitive behavior harmed tens of millions

 4   of consumers nationwide. Dr. Singer’s report relies on two models that independently demonstrate

 5   common impact on these consumers: (a) one models the overcharge in fees (or “take rate”) that

 6   Google has charged developers, and the consumer harm from the overcharge that developers have

 7   passed on to consumers; and (b) a separate model independently demonstrates consumer harm

 8   through increased subsidies Google would offer directly to consumers in a competitive market.

 9   Google’s motion focuses almost entirely on the pass-through portion of the first model. Google’s

10   criticisms of Dr. Singer’s pass-through model are without merit and do not warrant exclusion.

11   Google addresses the direct consumer-subsidy model—which provides an independent basis for

12   class certification—only briefly at the end of its motion. Those criticisms are also without merit.

13   Both of Dr. Singer’s analyses are reliable and support class certification.

14          In support of its motion, Google repeatedly mischaracterizes the record, case law, and Dr.

15   Singer’s words when it argues that the pass-through model is not generally accepted. Dr. Singer’s

16   pass-through model isn’t novel and doesn’t ignore marginal costs. The model is regularly used by

17   antitrust economists to study consumer price impacts resulting from a change in costs—indeed, it

18   accounts for the change in marginal costs as one of its variables. In addition, Dr. Singer confirmed

19   that the model applies to this case by applying standard econometric techniques—uncontested by

20   Google or its experts—to Google’s own data. Unable to show that the well-established model used

21   by Dr. Singer is unreliable, Google makes a series of misplaced arguments about the reliability of

22   facts and assumptions made by Dr. Singer. But Dr. Singer’s analysis is reliable, and Google’s

23   arguments are, at best, matters for cross examination, not exclusion. The Court should deny

24   Google’s blunderbuss motion challenging Dr. Singer’s report.

25                                           BACKGROUND

26          Dr. Singer authored a comprehensive expert report and reply report in support of class

27   certification, marshalling economic evidence of Google’s anticompetitive conduct and its impact

28   on consumers. Ex. 1 (Singer Rpt). Google focuses solely on Dr. Singer’s analysis of antitrust



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 1   impact and does not challenge his qualifications or move to exclude his other opinions. Dkt. 282

 2   (hereinafter “Mot.”). To prove antitrust impact on a class-wide basis, Dr. Singer models two ways

 3   in which all (or nearly all) proposed class members would have benefitted had Google not under-

 4   taken its anticompetitive campaign to monopolize the relevant markets. Both analyses are reliable.

 5            In his first model, Dr. Singer demonstrates common impact in a but-for world characterized

 6   by lower take rates for developers. Google does not challenge the methodology Dr. Singer uses to

 7   calculate Google’s lower competitive take rates in a but-for world except to the extent those models

 8   rely on his pass-through model for inputs. Mot. at Part II.

 9            Dr. Singer then calculates how the resulting change in developer marginal costs in the but-

10   for world would impact the price of apps. Ex. 1 (Singer Rpt.) ¶¶ 222-44. Google’s take rate—a toll

11   that all developers pay for every sale—is a marginal cost for developers. Id. ¶¶ 224-25. Standard

12   economics shows that if a firm bears higher marginal costs, it will pass on those costs to consumers

13   by charging more. Id. ¶ 223; see also Ex. 4, N. GREGORY MANKIW, PRINCIPLES OF MICROECONOM-

14   ICS   273, 285 (Cengage Learning 8th ed. 2018). In a competitive world, the take rate would have

15   been lower, and developers would have charged less. Instead, the cost of Google’s supra-compet-

16   itive take rate was passed along to consumers as higher prices.

17            To calculate the precise amount of pass-through, it is necessary to know the demand curve

18   faced by developers. Ex. 1 (Singer Rpt.) ¶ 223. Accordingly, Dr. Singer ran regressions—which,

19   again, Google does not challenge—to determine that a logit demand system accurately reflects the

20   demand curve Android developers in each of the app categories used by Google Play face. Ex. 1

21   (Singer Rpt.) ¶¶ 236-38. Armed with this knowledge, Dr. Singer used the standard formula for

22   calculating the profit-maximizing pass-through rate for a developer facing a logit demand curve.

23   Ex. 1 (Singer Rpt.) ¶¶ 239-40. Google derides this formula as overly simplistic and suggests it is

24   Dr. Singer’s invention, Mot. at 4,1 but the formula is derived from the logit demand model in peer-

25   reviewed literature—as Google’s own expert admits. Ex. 1 (Singer Rpt.) ¶ 239; Ex. 5 (Burtis Dep.)

26   187:3-189:13 (discussing Ex. 6, Nathan Miller, Marc Remer, & Gloria Sheu, Using cost pass-

27
     1
      Google twice claims that Dr. Singer proffered a “‘deceptively straightforward’ model.” Mot. at
28
     2, 9. Dr. Singer actually said that Google’s expert ignored “the calculations that work in the back-
     ground to produce a deceptively straightforward result.” Ex. 2 (Singer Reply) ¶ 68.

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 1   expenditure to join. Ex. 7 (Burtis Rpt.) ¶ 353. Google could automatically enroll users to a more

 2   fulsome program, just as credit card companies and other rewards programs already do. Ex. 2

 3   (Singer Reply) ¶ 98. Even if Google maintained an opt-in model, an                      discount,

 4         the current discount, would drive near universal participation. Id.; Ex. 3 (Singer Dep.) at

 5   297:8-298:12.

 6          Google has not shown why Dr. Singer must account for current low participation rates—

 7   an artifact of Google’s exclusion of competition that would have spurred it to compete for con-

 8   sumers—through separate economic modeling. See In re Mushroom Direct Purchaser Antitrust

 9   Litig., No. 06-0620, 2015 WL 5767415, at *6 (E.D. Pa. July 29, 2015) (“I am only to consider the

10   reliability of the expert’s method, which may properly include making assumptions so long as

11   those assumptions are sufficiently grounded in available facts.”) (internal quotation marks omit-

12   ted). And courts have already rejected Google’s premise that an expert must perform some sort of

13   a study to determine how each separate consumer would value the same benefits that would result

14   from competition. In re Optical Disk Drive Antitrust Litig., No. 3:10-md-2143, 2016 WL 467444,

15   at *9 (N.D. Cal., Feb. 8, 2016) (“Defendants’ focus on the subjective desires of individual con-

16   sumers is misplaced, and is not supported by legal precedent requiring any such approach.”).

17          Second, Dr. Singer need not model redemption rates of Play Points to show antitrust im-

18   pact. Even unredeemed points have “intrinsic option value,” in that they still may be redeemed in

19   the future, just as gift cards or cash may be spent in the future. Ex. 2 (Singer Reply) ¶ 99; see, e.g.,

20   In re Online DVD-Rental Antitrust Litig., 779 F.3d 934, 952 (9th Cir. 2015) (acknowledging, in

21   context of class settlement of antitrust claims, the intrinsic economic value to consumers of gift

22   cards that provide a set amount of money to use on their choice of a large number of products).

23   Consumers are better off with an                discount than without one.

24          Neither of Google’s arguments faulting Dr. Singer for failing to separately model away

25   low consumer participation and redemption in Google’s current paltry Play Points program render

26   his analysis unreliable. Dr. Singer reliably demonstrates the benefits of a more robust Play Points

27   program, adopted in the face of fair competition, to all or nearly all class members, and this anal-

28   ysis alone is reliable and can support class certification without considering pass-through.



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 1   II.     Dr. Singer’s Pass-Through Analysis Is Reliable

 2           Google’s scattershot challenges do not undermine the reliability of Dr. Singer’s thorough

 3   work described above.

 4           A.      Dr. Singer’s Use of the Logit Model to Calculate Pass-Through of a Change in
                     Marginal Costs Is Reliable and Regularly Used in Antitrust Economics
 5
             Although Google claims Dr. Singer’s model of pass-through is not “generally accepted,”
 6
     Mot. at 6-9, it presents no direct support. Nor can it. The logit demand system used by Dr. Singer
 7
     is a generally accepted economic method, as even Dr. Burtis concedes. Ex. 7 (Burtis Rpt.) ¶ 306
 8
     (logit models are “frequently used in economics”); see also Ex. 5 (Burtis Dep.) 187:3-7. Economic
 9
     literature confirms that the “most widely used discrete choice model is logit” and that it is “the
10
     ideal rather than a restriction.” Ex. 8 (Kenneth Train, Logit, in DISCRETE CHOICE METHODS WITH
11
     SIMULATION 34-75), at 34, 36 (cited by Ex. 7 (Burtis Rpt.) ¶ 306 n.363). Likewise, courts have
12
     approved economists’ use of logit models to estimate price impact in antitrust and unfair trade
13
     practices cases. Allegra v. Luxottica Retail North America, No. 17-CV-5216 (PKC) (RLM), 2022
14
     WL 42867 at *56-57, 60 (E.D.N.Y. Jan. 5, 2022) (denying motion to exclude analysis of deceptive
15
     trade practice on consumer prices based on logit model); V5 Technologies, LLC v. Switch,
16
     Ltd., Case No. 2:17-cv-02349-KJD-NJK, 2020 WL 6688732, at *2 (D. Nev. Nov. 12, 2020) (deny-
17
     ing motion to exclude testimony in antitrust case relying on multinomial logit model); In re Dial
18
     Complete Marketing and Sales Practices Litig., 320 F.R.D. 326, 330-31, 333 (D.N.H. 2017) (deny-
19
     ing motion to exclude testimony using logit models to calculate consumer demand for product
20
     feature).
21
             Google cannot credibly claim that formulas derived from logit demand systems are unreli-
22
     able for calculating pass-through. Dr. Singer cites a peer-reviewed paper using the same standard
23
     logit model to calculate pass-through of cost savings from a merger. Ex. 2 (Singer Reply) ¶ 77
24
     n.150 (citing Ex. 9 (Gregory Werden & Luke Froeb, The Effects of Mergers in Differentiated
25
     Products Industries: Logit Demand and Merger Policy 10(2) Journal of Law, Economics, & Or-
26
     ganization 407, 419 (1994)). The logit model is “commonly employed in antitrust analysis of mer-
27
     gers involving differentiated products.” Ex. 6 (Miller et al. (PX937)) at 452. Like in the merger
28
     context, Dr. Singer uses logit to examine how changes in costs impact consumer prices.


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 1          Unable to claim the logit model is junk science, Google instead derides the pass-through

 2   formula derived from the model as “bare bones.” Mot at 2.3 To make that argument, Google fo-

 3   cuses solely on the final step of Dr. Singer’s analysis, which calculates pass-through based on an

 4   app’s share of a category, while ignoring the complex econometric work enabling and validating

 5   that calculation. Specifically, two key analyses—both unchallenged by Google—demonstrate the

 6   economic rigor that underlies Dr. Singer’s pass-through calculation.

 7          Dr. Singer first ran regressions on Google’s real-world transaction data to confirm the de-

 8   mand curve faced by developers in the Play Store conforms to the logit model. Ex. 1 (Singer Re-

 9   port) ¶ 235. To make that determination, Dr. Singer ran regressions on an app-by-app level,

10   treating each of Google’s 35 app categories as a separate demand system. Id. ¶¶ 235-38 & Table

11   7. Those regressions determined that the logit demand model accurately described how actual his-

12   torical price changes affected actual consumer demand within app categories. Id. In other words,

13   the regressions show that when prices rose for an app within a category, consumer demand shifted

14   to other apps in that category following the pattern predicted by the logit model. Id.

15          Once Dr. Singer determined the logit model was the right fit to describe consumer purchas-

16   ing behavior, he turned to peer-reviewed literature to determine the profit-maximizing pass-

17   through rate for each developer based on that model. Id. ¶ 239 (citing Ex. 6 (Miller et al. (PX937))

18   at 452-53). Starting from the basic proposition that firms maximize profit by setting marginal rev-

19   enue equal to marginal cost, the article derives a formula from the logit demand system for how

20   the profit-maximizing price changes as a developers’ marginal costs change. Ex. 2 (Singer Reply)

21   ¶ 72. These calculations, which derived the formula Dr. Singer ultimately used, consider all rele-

22   vant economic variables, including price and marginal cost to arrive at the logit pass-through for-

23   mula. Ex. 2 (Singer Reply) ¶¶ 71-72. That the final formula derived from this process is simple

24   does not mean the underlying economics are simple, any more than the simplicity of E=MC2 sug-

25   gests that the underlying physics are invalid due to the simplicity of the final formula.

26   3
       Regardless, simplicity is no basis for exclusion. Victorino v. FCA US LLC, No. 16cv1617-
27   GPC(JLB), 2018 WL 2767300, at *2 (S.D. Cal. June 7, 2018) (rejecting challenge to class expert
     because “[w]hile the mathematical formula … is a simple formula, it was created after careful
28   review of the facts of the case, the theories alleged and consideration of different variables.”).


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     CONSUMER PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO EXCLUDE TESTIMONY OF DR.
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 1          B.      Google’s Other Arguments Against the Acceptance of the Model Are Mis-
                    placed
 2
            The majority of Google’s arguments under the heading that “Dr. Singer’s Pass-Through
 3
     Formula Is Not Generally Accepted” do not relate to that question. Mot. at 6-9. These arguments
 4
     are all misplaced and, at best, cross-examination points restyled as methodological arguments.
 5
            First, using cherry-picked deposition testimony, Google disingenuously argues that an
 6
     equation cited in Dr. Singer’s report, but not directly used by Dr. Singer to calculate pass-through,
 7
     is “the model ‘that’s generally accepted in economics’” for calculating pass-through. Mot. at 6-7
 8
     (emphasis added) (citing Ex. 3 (Singer Dep.) at 105:8-106:3, 107:23-108:2). Google’s motion ig-
 9
     nores a crucial fact: that equation—which demonstrates how a firm calculates a profit-maximizing
10
     price—cannot by itself be used to calculate pass-through. Ex. 1 (Singer Rpt.) ¶¶ 224-25. Google
11
     omits that Dr. Singer explains why in response to the same set of questions it misleadingly quotes:
12
     “[W]hen I go to model the precise amount of pass-through, I have to make an assumption about
13
     what kind of demand the developer faces.” Ex. 3 (Singer Dep.) at 106:4-107:22; see also id. at
14
     113:5-114:2. In other words, to calculate the profit-maximizing amount of pass-through, an econ-
15
     omist must choose a demand model, which Dr. Singer did with the logit model. One cannot esti-
16
     mate pass-through based on a generic demand curve.4 Unsurprisingly, Google does not cite its own
17
     economist once in support of its argument that Dr. Singer should have used the equation in ¶ 224
18
     to calculate pass-through. Mot. 6-9.
19
            Second, Google repeatedly distorts the role marginal costs play in Dr. Singer’s analysis.
20
     Dr. Singer does not ignore marginal costs. The logit pass-through formula considers marginal costs
21
     by measuring the change in developers’ marginal costs. Ex. 2 (Singer Reply) ¶ 72 (citing Ex. 6
22
     (Miller et al. (PX937)) at 452, 453). While the simplified pricing equation in ¶ 224 of the Singer
23
     Report includes the level of marginal cost, application of the logit demand model causes the abso-
24
     lute level of marginal costs to drop out of the equation, meaning the pass-through calculation de-
25
     pends solely on the change in marginal costs. Ex. 2 (Singer Reply) ¶ 71; Ex. 3 (Singer Dep.) at
26
27   4
       But even if the equation Google’s motion argues should have been used could have model pass-
     through, the “choice of one particular data analysis method over another goes to the weight of his
28   opinion, not its admissibility.” DZ Reserve v. Meta Platforms, Inc., Case No. 3:18-cv-04978-JD,
     2022 WL 912890 at *8 (N.D. Cal. Mar. 29, 2022).

                                              7
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 1   113:5-115:13. This makes sense because a pass-through rate is, by definition, the change in price

 2   resulting from a change in cost. Ex. 1 (Singer Rpt.) ¶ 239. As noted above, Google has not chal-

 3   lenged Dr. Singer’s choice of the logit model as unreliable, nor could it.5

 4           Next, Google places undue significance on the distinction between per-unit costs (costs

 5   that are the same regardless of price) and ad valorem costs (expressed as a percentage of price) but

 6   can point to no basis in economics for that alleged significance. Google falsely claims that Dr.

 7   Singer’s model is drawn from an article that “expressly states” its formulas apply to per-unit costs,

 8   not ad valorem costs. The article says no such thing. Ex. 6 (Miller et al. (PX937)) (presenting

 9   “[g]eneral model of cost pass-through” and, while applying it to a “per-unit tax,” presenting no

10   limitation to per-unit costs).

11           The distinction between ad valorem and per-unit costs theoretically matters only if a short-

12   term profit maximizing firm faces zero marginal costs aside from the changing take rate. Ex. 2

13   (Singer Reply) ¶ 31. In fact, this is Google’s only marginal cost argument with any support from

14   its economist. Mot. at 6-9. But Google’s own expert reports and economic literature show devel-

15   opers face other marginal costs like sales taxes, customer support, and processing costs of user

16   information. Ex. 7 (Burtis Rpt.) ¶¶ 144-46; Ex. 10 (Anindya Ghose & Sang Pil Han, Estimating

17   Demand for Mobile Applications in the New Economy, 60(6) MANAGEMENT SCIENCE 1470, 1474

18   (2013); Ex. 2 (Singer Reply) ¶¶ 21-25. Google has identified zero evidence that any developer

19   actually faces zero marginal costs, and its expert is only willing to say that if developers have zero

20   marginal costs, then a take-rate change is “less likely to lead to a change in the retail price of the

21   app.” Ex. 7 (Burtis Rpt.) ¶¶ 142-43; see also Ex. 3 (Singer Dep.) at 97:24-98:19 (“replication costs”

22   mentioned in Mot. Ex. 5 are “not the same” as marginal costs). To the contrary, analysis of

23   Google’s data shows that taxes, another ad valorem cost, are typically passed on in full, incon-

24   sistent with Google’s zero-marginal cost argument. Ex. 2 (Singer Reply) ¶¶ 23 & n.51; 244.

25
     5
26     Google selectively quotes deposition testimony to suggest that Dr. Singer “went with” the logit
     model solely to evade calculating marginal costs, Mot. at 8. Dr. Singer’s full answer notes it was
27   one reason “among myriad other reasons” and was “not the only reason or the primary reason why
     I chose logit.” Ex. 3 (Singer Dep.) at 195:20-196:24. Nor could it have been the reason. All of the
28   demand models in the article cited by Dr. Singer find that the pass-through rate depends on the
     change, and not the level, of marginal cost. Ex. 6 (Miller et al. (PX937)).

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 1          Third, Google’s invocation of Illinois Brick is a red herring and gets it nowhere. Illinois

 2   Brick does not bar Dr. Singer’s analysis here, because the Supreme Court has held that app store

 3   consumers are direct purchasers who may recover under the federal antitrust laws. Apple v. Pepper,

 4   139 S. Ct. 1514 (2019). As direct purchasers, consumers are “entitled to the full amount of the

 5   unlawful overcharge,” because “[t]he overcharge has not been passed on by anyone to anyone.”

 6   Id. at 1525 (2019) (emphasis in original). It is Google’s burden, not Plaintiffs’, to demonstrate that

 7   some portion of the overcharge would not affect consumer app prices. Id. at 1523. Nor did Illinois

 8   Brick—as Google suggests—reject the proposition that overcharges are an equivalent to an excise

 9   tax. Mot. at 9. To the contrary, it explained that “an overcharge can be calculated using the eco-

10   nomic theorems for the incidence of an excise tax.” Illinois Brick Co. v. Illinois, 431 U.S. 720, 741

11   n.25 (1977) (emphasis added).

12          Fourth, Google suggests the model fails to account for developers who would invest in

13   their product with savings from a lower take rate. Mot. at 8-9. That is misdirection. Dr. Singer’s

14   models are agnostic to how developers choose to use the portion of savings that are not passed

15   through to consumers. Ex. 1 (Singer Rpt). ¶ 266. The logit model predicts pass-through rates rang-

16   ing from                 in each app category. Ex. 1 (Singer Rpt.) at Tables 13 & 14. Developers

17   could reinvest some or all the remaining              of savings, or pocket it as profit—Dr. Singer’s

18   modeling is not undermined by either outcome. And, in any event, Google’s argument that an

19   economist must model whether increased costs are passed along in the form of higher prices, or

20   instead result in decreased investment in product development, would effectively exclude the ex-

21   pert testimony in myriad antitrust cases where economists have shown consumer impact in the

22   form of higher prices.

23          C.      Dr. Singer’s Pass-Through Model Is Based on Reliable Data

24          Most of Google’s challenges to Dr. Singer’s pass-through model concern facts Google

25   claims he failed to consider and assumptions Google claims he made. But those are not a basis for

26   exclusion. As this Court recognizes, “[t]he appropriate concerns at this stage are not about the

27   quality of the data [the expert] used or whether he included all potential variables in his model…

28   Those observations may be grist for a good cross-examination at trial, but they do not play a



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 1   material role” in Daubert. In re Capacitors Antitrust Litig. (No. III), No. 14-CV-03264-JD, 2018

 2   WL 5980139, at *6 (N.D. Cal. Nov. 14, 2018); Hemmings v. Tidyman’s Inc., 285 F.3d 1174, 1188

 3   (9th Cir. 2002) (“[I]n most cases, objections to the inadequacies of a study are more appropriately

 4   considered an objection going to the weight of the evidence rather than its admissibility.”).

 5                  1.      Dr. Singer Considered Real-World Data
 6          Google wrongly contends Dr. Singer ignores real-world data. In fact, Dr. Singer considered

 7   and used the available data to the extent it was reliable—and he considered and rejected unreliable

 8   data and assumptions (as economists regularly do).

 9          To begin, Dr. Singer did not use his “typical” approach of “regressing retail price changes

10   on wholesale price changes,” Mot. at 9 (citing Ex. 3 (Singer Dep.) at 134:25-135:6), because

11   wholesale pricing data simply does not exist for Google Play. Ex. 3 (Singer Dep.) at 136:13-20.

12          Google also complains that Dr. Singer failed to credit Google’s expert’s and the developer

13   class certification expert’s analyses of price reductions following limited take rate reductions in

14   2018 and 2021. As explained in Dr. Singer’s reply report, methodological failures infect Dr. Bur-

15   tis’s analysis of the 2018 and 2021 changes. For example, Dr. Burtis’s analysis of the 2018 take

16   rate change—which applied only to second-year subscriptions—ignores that Google Play provides

17   no mechanism for a developer to change second-year subscription prices. Ex. 2 (Singer Reply)

18   ¶ 122. Dr. Burtis’s analyses also are infected by numerous other flaws, including failure to measure

19   over a sufficiently long-time horizon, failure to include a control group, and reviewing changes

20   over artificially small product-groups rather than by app or developer. Id. ¶¶ 102-33. At best, the

21   analyses demonstrate price stickiness, which would benefit the class in the but-for world where a

22   competitive take rate would have been set at the outset. Id. ¶ 115. More fundamentally, Google’s

23   average overall take rate remained near constant throughout the class period, despite Google’s

24   minor changes in 2018 and 2021, providing almost no basis to examine more significant changes

25   in take rate that would result from full competition. Ex. 3 (Singer Dep.) 138:16-141:12.

26          Contrary to Google’s suggestions, Dr. Singer tested his model on significant actual data,

27   running regressions on Google’s transaction data to determine that the logit model was a good fit.

28   Ex. 1 (Singer Rpt.) ¶¶ 237-38. He analyzed developers’ experience with sales tax to confirm that



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 1          Further, in the but-for world, the opportunity to steer consumers to cheaper platforms for

 2   in-app purchases would result in departure from focal point pricing to incentivize consumers to

 3   switch. Ex. 2 (Singer Reply) ¶ 28; Ex. 3 (Singer Dep.) at 200:7-202:7. Although still constrained

 4   by Google’s anticompetitive conduct, major developers have departed from focal point pricing to

 5   take advantage of their severely limited opportunity to steer with reduced prices. Ex. 1 (Singer

 6   Rpt.) at Table 9. Finally, to the extent developers prefer to maintain “supermarket-style” pricing

 7   in the but-for world, Dr. Singer’s models allow for them to retain prices ending in “9,” while still

 8   passing savings on to consumers, as is observed in the actual world. Ex. 2 (Singer Reply) ¶ 30 &

 9   Figure 3. His impact model produces aggregate overcharges within a category; there are myriad

10   pricing combinations—including those ending in “9”—that add up to his aggregate overcharge.

11          Dr. Singer considered evidence of focal point pricing in his report and reliably determined

12   that his models were sufficient to calculate damages. Ex. 3 (Singer Dep.) at 203:6-206:8.

13                  3.      Dr. Singer Properly Used Google’s App Categories
14           Record and economic evidence support Dr. Singer’s use of Google’s app categories. Con-

15   trary to Google’s claim, the logit model does not require that all apps within a category are perfect

16   substitutes. Ex. 3 (Singer Dep.) 158:6-160:1 (noting “it’s not necessary” to determine which apps

17   are substitutes “to get the implied pass-through rate.”). While it “is generally the case” that goods

18   in a logit demand system are substitutes, this does not imply that all goods are interchangeable. Id.

19   Economic literature confirms that logit allows for extensive product differentiation, while recog-

20   nizing that consumers are likelier to shift to goods seen as near-substitutes. Ex. 2 (Singer Reply)

21   ¶ 77; Ex. 13 (Simon Anderson & Andre de Palma, The Logit as a Model of Product Differentiation

22   44 OXFORD ECONOMIC PAPERS 51-67 (1992)) at 53 (noting “there are many characteristics of prod-

23   ucts which consumers value differently”); Ex. 8 (Train) at 47 (describing “proportionate shifting”).

24          Record evidence shows that Google’s app categories are economically reasonable group-

25   ings of consumer preferences. Ex. 2 (Singer Reply) ¶¶ 75-77. Google publicly tells developers that

26   “Categories and tags help users to search for and discover the most relevant apps in the Play Store,”

27   Ex. 2 (Singer Reply) ¶ 75, and

28          E.g., Ex. 14 (GOOG-PLAY-000579868.R) at -870.R; Ex. 2 (Singer Reply) ¶ 75 (compiling



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 1                            Developers are incentivized to categorize their apps with the apps of their

 2   competitors to lead consumers to their apps; it would make no sense for a developer to place its

 3   app in a category of apps that do not relate to it. Google itself recognizes that

 4                                         ” Id. ¶ 76; Ex. 15 (GOOG-PLAY-000303918.R) at -926.R.

 5          Dr. Singer’s regressions—which confirmed the logit model fits the data—are strong inde-

 6   pendent evidence that the app categories used by Google in its ordinary course of business appro-

 7   priately defined the scope of substitution possibilities for app users. The logit model would only

 8   fit the data if there were some substitution between the apps in the chosen categories—and here,

 9   Dr. Singer’s regressions, which were calibrated to the app categories, determined that the “logit

10   demand model explains the vast majority (more than 85 percent) of the variation” in the demand

11   for Apps and In-App Content in the real world. Ex. 2 (Singer Reply) ¶ 70; Ex. 1 (Singer Rpt.)

12   ¶ 238. In other words, as an app developer’s price increased, its share within the category declined

13   following the logit model’s predicted demand curve.

14          The record and Dr. Singer’s confirmatory regressions establish that any assumptions he

15   made in using Google’s app categories as an input in his model were reliable and appropriate. To

16   the extent Google thinks otherwise, that can be a cross issue. See Blood Reagents Antitrust Litig.,

17   No. 09-2081, 2015 WL 6123211, at *14 (E.D. Pa. Oct. 19, 2015) (admitting expert testimony

18   reliant upon assumption about business model with “some support for those assumptions in the

19   record” because any weaknesses “bear on the weight of the evidence rather than admissibility”).

20          D.      Dr. Singer Properly Disclosed the Basis for his Pass-Through Analysis

21          Dr. Singer has properly disclosed the basis for his pass-through analysis. Google’s motion

22   faults Dr. Singer solely for not disclosing calculations testing two alternative demand curves to the

23   logit model. Mot. at 13. But Google ignores that the expert stipulation and order in this case re-

24   quires disclosure only of data “relied upon by the expert witness as a basis for the expert witness’s

25   opinion(s).” Dkt. 55 ¶¶ 4, 7 (emphasis added); contrast with Mot. at 13 (quoting “considered by

26   an expert” standard); see also Chinitz v. Intero Real Estate Servs., No. 18-cv-05623-BLF, 2020

27   WL 7391299, at *4 (N.D. Cal. July 22, 2020) (noting that the default Rule 26(a) “considered”

28   standard is significantly broader than a “relied upon” standard). Dr. Singer clearly testified that



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 1   while he tested other demand curves, he did not describe them in his report “[b]ecause I ultimately

 2   didn’t rely on them.” Ex. 3 (Singer Dep.) 152:22-153:12. And, in any event, Google’s experts have

 3   all the data they need to run alternative regressions themselves and doing so would have led them

 4   to the same conclusion—that the logit model best fits the data. Ex. 3 (Singer Dep.) 174:17-25. 6

 5   III.   Dr. Singer’s Formula For Calculating Google’s Competitive Take Rate Is Reliable
            Dr. Singer’s calculation of Google’s competitive take rates is reliable. Google raises only
 6
     two criticisms of Dr. Singer’s modeling—that it relies on his pass-through calculations and that it
 7
     yields allegedly “absurd results.” Mot. at 13-14. Neither is availing.
 8
            First, as explained above, supra Part II, Dr. Singer’s pass-through calculations are reliable.
 9
     And even assuming Dr. Singer’s pass-through calculations were flawed (which they are not), pass-
10
     through is just one of many inputs to the econometric models Dr. Singer used to determine com-
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     petitive take rates. Ex. 1 (Singer Rpt.) Tables 3 & 5. Criticisms with one variable are not grounds
12
     for exclusion of an expert’s testimony. See Victorino v. FCA US LLC, 2018 WL 2767300, at *3
13
     (“Under Rule 702 and Daubert, the proper analysis is not whether some of the inputs can be ques-
14
     tioned…”); Bazemore v. Friday, 478 U.S. 385, 400, (1986) (“Normally, failure to include variables
15
     will affect the analysis’ probativeness, not its admissibility.”).
16
            Second, Dr. Singer’s model does not predict service fees too low to cover Google’s mar-
17
     ginal costs, as Google claims. Dr. Singer “conservatively estimated” Google’s marginal costs at
18
             but estimated that the actual figure could range                  Ex. 1 (Singer Rpt.) ¶¶ 87
19
     & n. 183, 192 n.388, 212. Neither the 10% fee for Entertainment apps, nor the 9.7% fee for Music
20
     and Audio apps falls below the range of estimates of Google’s marginal costs. Id. at Table 14.
21
     Moreover, that Google’s rates in 2 of 35 categories fall close to Google’s marginal costs does not
22
     mean Google could not “anticipate any profit in the foreseeable future.” Mot. at 14 (quoting Apple
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     iPhone Antitrust Litig., 2022 WL 1284104, at *5). Google does not (and cannot) contend that the
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27   6
       Google’s belated invocation of Rule 26 alone shows lack of prejudice. W.L. Gore & Assocs., Inc.
     v. C.R. Bard, Inc., No. CV 11-515-LPS-CJB, 2015 WL 12806484, at *4-5 (D. Del. Sept. 25, 2015)
28   (noting that delayed Rule 26 motion “embed[ed] … in its Daubert motion” “seriously undermines
     its contention that there was a lack of disclosure here that has caused it prejudice.”)

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 1                                   CERTIFICATE OF SERVICE

 2          The undersigned certifies that a true and correct copy of the foregoing was served on

 3   June 23, 2022 upon all counsel of record via the Court’s electronic notification system.

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